          4:06-cr-03040-WKU-DLP               Doc # 131      Filed: 07/16/07        Page 1 of 1 - Page ID # 573
                                      UNITED STATES DISTRICT COURT
                                               DISTRICT OF NEBRASKA
Denise M. Lucks                                OFFICE OF THE CLERK                                           M. Therese Bollerup
Clerk of Court                                      www.ned.uscourts.gov                                     Chief Deputy Clerk



         TO:              The Honorable Warren K. Urbom

         FROM:            Clerk, U.S. District Court
                          Jeri A. Bierbower

         DATE:            July 16, 2007

         SUBJECT:         4:06cr3040, USA v. Noe Gustavo Chavez Loya

         A party, who has already been permitted to proceed in forma pauperis, or who is financially unable to
         obtain adequate defense in a criminal case, has filed a Notice of Appeal. Pursuant to the third paragraph
         of FRAP 24(a), a party may proceed on appeal in forma pauperis without further authorization unless the
         district judge certifies that the appeal is not taken in good faith or finds that the party is otherwise not
         entitled to proceed on appeal in forma pauperis. The district judge shall state in writing the reasons for
         such a certification or finding.

         In order for the Clerk’s office to process this appeal, please advise our office how you intend to proceed:

                  X       No order will be entered in this direct criminal appeal, and the party is permitted
                          to proceed on appeal in forma pauperis.
                          An order will be entered finding that the party is not entitled to proceed in forma
                          pauperis.
                          An order will be entered, and the party is permitted to proceed on appeal in forma
                          pauperis.
                          An order will be entered in this § 2254 or § 2255 case regarding Certificate of
                          Appealability.

         Dated this 16th day of July, 2007.
                                                                s/ Warren K. Urbom
                                                                _________________________________
                                                                United States Senior District Judge


                                   Additional Requirement for State Habeas or 2255 Cases

         Pursuant to Rule 22(b) of the Rules of Appellate Procedure and 28 U.S.C. § 2253 (c), the district judge
         who rendered the judgment shall either issue a certificate of appealability or state the reasons why such a
         certificate should not be issued.

         Transmission of the Notice of Appeal to the Court of Appeals will be delayed until this court rules on the
         in forma pauperis status and the certificate of appealability.


         111 South 18th Plaza, Suite 1152                                         100 Centennial Mall North, Room 593
         Omaha, NE 68102-1322                                                                  Lincoln, NE 68508-3803
         (402) 661-7350                                                                                  (402) 437-5225
         Fax: (402) 661-7387                                                                        Fax: (402) 437-5651
         Toll Free: (866) 220-4381                                                            Toll Free: (866) 220-4379
